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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE


Richard A. Waite

      v.                                                  Case No. 19-cr-259-LM

Northern NH Correctional Facility, Warden




                                           ORDER


           After due consideration of the objection filed, I herewith approve the Report

and Recommendation of Magistrate Judge Andrea K. Johnstone dated February 28,

2025. For the reasons explained therein, Waite’s motion for summary judgment

(doc. no. 31) is denied without prejudice. Further, the respondent’s motion for

summary judgment (doc. no. 49) is granted to the extent it seeks judgment on

Claims 4(a), 4(b), 5(a), and 5(b), and otherwise denied without prejudice to the

respondent’s ability to assert the arguments at a later stage of the case.

           SO ORDERED.


                                                  ____________________________
                                                  Landya B. McCafferty
                                                  Chief Judge

Date: March 27, 2025

cc:        Richard A. Waite, pro se
           Counsel of Record
